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                                             :
JAKE REINHARDT, et al.                       : ORDER
                                             :
                            Plaintiffs,      :
                                             :
              v.                             : Civil Action No. 21-CV-00206
                                             :
THE CITY OF BUFFALO, et al.                  :
                                             : JURY TRIAL DEMANDED
                            Defendants.      :

       AND NOW, this         day of              , 2021, upon consideration of Co-Defendant

Bail Shop, LLC’s Motion to Dismiss, and any response thereto, it is hereby ORDERED and

DECREED that Defendant’s Motion is GRANTED.

       Plaintiff’s Complaint is DISMISSED, with prejudice.

       AND IT IS SO ORDERED.



                                                                              J.
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
                                        :
JAKE REINHARDT, et al.                  :   NOTICE OF MOTION
                                        :   TO DISMISS
                          Plaintiffs,   :
                                        :
             v.                         :
                                        :   Civil Action No.    21-CV-00206
THE CITY OF BUFFALO, et al.             :
                                        :
                          Defendants.   :   JURY TRIAL DEMANDED

MOTION MADE BY:                             Co-Defendant, Bail Shop, LLC

DATE, TIME AND                              On a date to be set by the Court at the United
PLACE OF HEARING                            States District Court for the Western District of
                                            New York.

RELIEF SOUGHT:                              Dismissal with prejudice of all purported
                                            causes of action contained within Plaintiffs’
                                            Complaint in favor of Bail Shop, LLC,
                                            pursuant to Fed.R.Civ.P. 12(b)(6) for failure to
                                            state a claim upon which relief can be granted,
                                            costs, and such other relief as deemed proper.

SUPPORTING PAPERS:                          Declaration of Matthew B. Weisberg, Esquire,
                                            dated April 27, 2021, together with the
                                            accompanying Memorandum of Law, and all
                                            the pleadings and proceedings before had
                                            herein.

ANSWERING PAPERS:                           Any answering papers must be served in
                                            accordance with the Federal Rules of Civil
                                            Procedure and any briefing schedule set by the
                                            Court. Bail Shop, LLC requests the
                                            opportunity to submit reply papers.
DATED:    April 27, 2021
          Buffalo, New York
                                            WEISBERG LAW


                                            /s/ Matthew B. Weisberg
                                            Matthew B. Weisberg, Esquire
                                            (Pro Hac Vice – Pending)
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                                                /s/Kevin M. Habberfield, Esquire
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                                                129 North Union Street – 2nd Floor
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                                                Olean, NY 14760
                                                Tel: 716-373-1920
                                                Fax: 716-370-3110
                                                E-Mail: kevin@blhfirm.com
                                                (Local Counsel)

To:   R. Anthony Rupp, III, Esquire
      Chad A. Davenport, Esquire
      Rupp, Baase, Pfalzgraf, Cunningham, LLC
      Attorneys for Plaintiff
      1600 Liberty Building
      424 Main Street
      Buffalo, NY 14202
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
                                                :
JAKE REINHARDT, et al.                          : DECLARATION
                                                :
                              Plaintiffs,       :
                                                :
               v.                               : Civil Action No. 21-CV-00206
                                                :
THE CITY OF BUFFALO, et al.                     :
                                                : JURY TRIAL DEMANDED
                              Defendants.       :


       Matthew B. Weisberg, pending pro hac vice counsel to Co-Defendant, Bail Shop, LLC,

under penalty of perjury and pursuant to 28 U.S.C. § 1746, declares the following to be true and

correct:

       1)      I am an attorney pending pro hac vice admission, and I represent the Co-

Defendant/Movant, Bail Shop, LLC, in this action. As such an attorney, I am fully familiar with

the facts and circumstances set forth below.

       2)      I offer this Declaration and an accompanying Memorandum of Law in support

of Bail Shop, LLC’s Motion to Dismiss seeking dismissal of the Complaint, with prejudice,

which relief can be granted for the reasons set forth in the accompanying Memorandum of Law.

       3)      Given the constricted scope of this dispositive motion, its posture, and the

lack of specific allegations relating to the Bail Shop, LLC contained in Plaintiffs’ Complaint, no

separate statement of undisputed facts is submitted herewith.

       4)      Should the Court deem such a statement necessary, Bail Shop, LLC

respectfully requests the opportunity to provide the same at a time deemed prudent by the Court.

       5)      On February 4, 2021, Plaintiffs commenced the instant action by filing their

Complaint with this Court. Dkt. No. 1.
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       WHEREFORE, Bail Shop, LLC respectfully requests this Court grant its Motion to

Dismiss, with prejudice, as well as such other and further relief as this Honorable Court deems

just and proper.



Dated: April 27, 2021
Buffalo, New York

                                                WEISBERG LAW


                                                /s/ Matthew B. Weisberg
                                                Matthew B. Weisberg, Esquire
                                                (Pro Hac Vice – Pending)
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                                                E-Mail: kevin@blhfirm.com
                                                (Local Counsel)
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
                                                  :
JAKE REINHARDT, et al.                            :   NOTICE OF MOTION
                                                  :   TO DISMISS
                                 Plaintiffs,      :
                                                  :
               v.                                 :
                                                  :   Civil Action No. 21-CV-00206
THE CITY OF BUFFALO, et al.                       :
                                                  :
                                 Defendants.      :   JURY TRIAL DEMANDED

 MEMORANDUM OF LAW IN SUPPORT OF CO-DEFENDANT, BAIL SHOP, LLC’S
   MOTION TO DISMISS PURSUANT TO FRCP 12(B)(6), WITH PREJUDICE

I.     Standard of Review

       Federal pleading standards require that a Complaint contained a short and plain statement

of a claim. FRCP 8(a)(2). This Honorable Court should grant a Motion to Dismiss a Complaint

under FRCP 12 (b)(6) if it is clear that the Complaint - when accepted as true: does not present

plausible averments as against a Defendant (e.g., Movant/Co-Defendant: Bail Shop, LLC).

Twombly, infra., Iqbal, infra.

       Legal conclusions are not presumed to be true, and the Complaint must plead and

“possess enough heft to show that the pleader is entitled to relief.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 557 (2007). Legal conclusions or unsupported inferences or assumptions that the

Complaint need not be accepted in the context of deciding a Rule 12 motion. Smith v. Local 819

I.B.T. Pension Plan, 291 F.3d, 236, 240 (C.A. 2 2002).

       “While a Complaint attacked by a Rule 12(b)(6) Motion to Dismiss does not need

detailed factual allegations, a Plaintiff’s obligation to provide the grounds of his entitle[ment] to

relief requires more than labels and conclusions, and a formulaic recitation of the elements of a
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cause of action will not do.” Twombly, at 555 (internal quotations and citations omitted);

Ashcroft v. Iqbal, 556 U.S. 662 (2009).”

II.    The Complaint fails to state a cause of action against Movant/Co-Defendant, Bail
       Shop, LLC

       Plaintiffs’ allegations as to movant are merely (Doc. 1, ¶ 137): Bail Shop, LLC “… knew

or should have known that the searches and seizures will be part of the job activities of

Defendant’s agent D. White and John Doe 8, yet upon information and belief failed to instruct,

guide, train, or supervise them.”

       While the above-referenced averment is repeated in the claims for relief in various forms

or another, it is essentially the most specific the Complaint has to offer.

       Pursuant to 42 USC § 1983, et seq., liability against a Defendant must be based on

personal involvement. See, Spavone v. New York State Dep’t. of Correctional Services, 719

F.3d. 127, 135 (C.A.2 2013) (citing Colon v. Coughlin, 58 F.3d 865, 873 (C.A.2 1995)).

       The Complaint fails to set forth non-conclusory allegation of Movant’s personal

involvement in the alleged constitutional violation (inconsistent with Twombly/Iqbal, supra.).

       The Complaint should be dismissed, with prejudice, for Plaintiffs’ failure to allege

personal involvement with any requisite specificity let alone (as pleaded) conclusory allegations.

       Further, there is no vicarious liability under §1983. Monell v. Dept. of Social Svcs., et

al., 736 U.S. 658 (2018).

       The Complaint pleads no specific “conspiracy” allegations. See generally, ACR

Systems, Inc. v. Woori Bank, 232 F. Supp 3d 417, 478-479 9 (S.D.N.Y 2017)

       Moreover, movant is a private entity. Sybalski v. Ind. Grp. Name, et al., 546 F.3d 255,

257-258 (C.A.2 2008).
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       In short, the Complaint fails to meet the “heft” required under the aforesaid case law

governing a Complaint the standard of instant review.

       WHEREFORE, Co-Defendant, Bail Shop, LLC, respectfully requests this Honorable

Court dismiss the Complaint, with prejudice.


                                                    WEISBERG LAW


                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    Attorney for Co-Defendant
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
                                               :
JAKE REINHARDT, et al.                         :   NOTICE OF MOTION
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                             Plaintiffs,       :
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              v.                               :
                                               :   Civil Action No.   21-CV-00206
THE CITY OF BUFFALO, et al.                    :
                                               :
                             Defendants.       :   JURY TRIAL DEMANDED

                               CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 27th day of April, 2021, a

true and correct copy of the foregoing Memorandum of Law in Support of Co-Defendant, Bail

Shop, LLC’s Motion To Dismiss Pursuant To FRCP 12(B)(6), With Prejudice was served via

ECF and Regular mail, respectively, upon the following parties:

Chad A. Davenport, Esquire                         Maeve Eileen Huggins, Esquire
R. Anthony Rupp, III, Esquire                      City of Buffalo Law Department
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140 Pearl Street
Buffalo, NY 14202-4040



                                                     WEISBERG LAW


                                                     /s/ Matthew B. Weisberg
                                                     Matthew B. Weisberg, Esquire
                                                     Attorney for Co-Defendant
